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       In the United States Court of Federal Claims
  * * * * * * * * * * * * * * * *
  LIONI INVESTMENTS, LLC,       *
                                *
                 Plaintiff,     *
            v.                  *
                                *                          Nos. 16-1624L; 16-16243L
  UNITED STATES,                *                          Filed: September 8, 2017
                                *
                 Defendant.     *
                                *
  * * * * * * * * * * * * * * * *
                             ORDER

        The court is in receipt of the plaintiffs’ motion to voluntarily dismiss the claims of
the above captioned plaintiff in the case of Reinaldo Castillo, et al. v. United States, 16-
1624L. The claims associated with of Lioni Investments, LLC are, hereby, SEVERED from
the case of Reinaldo Castillo, et al. v. United States, 16-1624L and shall be reorganized,
for case management purposes, into the case Lioni Investments, LLC v. United States,
and assigned Case No. 16-16243L. The court DISMISSES, without prejudice, the claims
of Lioni Investments, LLC. As there is no just reason for delay, the Clerk’s Office shall
enter immediate JUDGMENT consistent with this Order, pursuant to RCFC 54(b). As the
Order disposes of all properties of Lioni Investments, LLC, Case 16-16243L shall be
CLOSED. Neither the dismissal of the claims of the plaintiff herein nor the entry of
judgment by the Clerk’s Office shall affect this court’s jurisdiction over the remaining
plaintiffs in the case of Reinaldo Castillo, et al. v. United States, 16-1624L.


       IT IS SO ORDERED.

                                                       s/Marian Blank Horn
                                                       MARIAN BLANK HORN
                                                                Judge
